AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 1



                                         UNITED STATES DISTRICT COURT
                                      MIDDLE District of TENNESSEE
                                                     )
              UNITED STATES OF AMERICA               )    JUDGMENT IN A CRIMINAL CASE
                          v.                         )
                                                     )
                                                     )    Case Number:         3:19-cr-113
                   PHILLIP PICKETT                   )    USM Number:          26074-075
                                                     )
                                                     )    Andrew Brandon
                                                     )    Defendant’s Attorney
THE DEFENDANT:
X   pleaded guilty to count(s)      1 and 2 of the Indictment

    pleaded nolo contendere to count(s)
    which was accepted by the court.
    was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                     Offense Ended              Count
18 U.S.C.§2119(1)                 Carjacking                                                            12/26/2018                   1

18 U.S.C.§924(c)                  Using Carrying , and Brandishing a Firearm During a Crime of          12/26/2018                    2
                                  Violence


       The defendant is sentenced as provided in pages 2 through             7         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

    The defendant has been found not guilty on count(s)

X   Count(s) 3                                         X is         are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                      September 17, 2020
                                                                      Date of Imposition of Judgment




                                                                      Signature of Judge




                                                                      ALETA A. TRAUGER, U.S. DISTRICT JUDGE
                                                                      Name and Title of Judge


                                                                      September 18, 2020
                                                                      Date




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AO 245B (Rev. 09/19)   Judgment in Criminal Case
                       Sheet 2 — Imprisonment
                                                                                                    Judgment — Page       2       of   5
 DEFENDANT:                  PHILLIP PICKETT
 CASE NUMBER:                3:19=cr=113


                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
 6 months as to count 1 and 84 months as to count 2 to run consecutively with each other for a total term of 90 months.




      X   The court makes the following recommendations to the Bureau of Prisons:
          1. That defendant receive drug and alcohol treatment.
          2. That defendant receive mental health treatment for ADHD, anxiety and depression, as well as other disorders stated in the
          presentence report.
          3. That defendant receive vocational training.

      X The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:
              at                                    a.m.          p.m.        on                                              .
              as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on                                            .
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.



                                                                  RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

 at                                                , with a certified copy of this judgment.


                                                                                                  UNITED STATES MARSHAL




                                                                          By
                                                                                               DEPUTY UNITED STATES MARSHAL




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AO 245B (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 3 — Supervised Release
                                                                                                      Judgment—Page     3      of        7
DEFENDANT:                 PHILLIP PICKETT
CASE NUMBER:               3:19-cr-113
                                                      SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:
3 years on each of counts 1 and 2 to run concurrently with each other.




                                                     MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                  The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.    X    You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.    X    You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.         You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.


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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A — Supervised Release
                                                                                              Judgment—Page        4        of         7
DEFENDANT:                   PHILLIP PICKETT
CASE NUMBER:                 3:19-cr-113

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by
probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
      within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
      10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date




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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D — Supervised Release
                                                                                                    Judgment—Page     5     of         7
DEFENDANT:                PHILLIP PICKETT
CASE NUMBER:              3:19-cr-113

                                        SPECIAL CONDITIONS OF SUPERVISION
1.       You shall pay restitution in an amount totaling $300 to Gregory Richardson. The victim’s address will be provided to the Clerk
         of the Court under separate cover. Payments shall be submitted to the Clerk, United States District Court, 801 Broadway,
         Nashville, TN 37203. [If you are incarcerated, payment shall begin under the Bureau of Prisons’ Inmate Financial
         Responsibility Program. Should there be any unpaid balance when supervision commences, you shall pay the remaining
         restitution at a minimum monthly rate of 10 percent of your gross monthly income. No interest shall accrue as long as you
         remain in compliance with the payment schedule ordered. Pursuant to 18 U.S.C. § 3664(k), you shall notify the court and United
         States Attorney of any material change in economic circumstances that might affect ability to pay.


2.       You shall participate in a program of drug testing and substance abuse treatment which may include a 30-day inpatient treatment
         program followed by up to 90 days in a community correction center at the direction of the United States Probation Office. You
         shall pay all or part of the cost for substance abuse treatment if the United States Probation Office determines you have the
         financial ability to do so or has appropriate insurance coverage to pay for such treatment.

3.       You shall participate in a mental health program as directed by the United States Probation Office. You shall pay all or part of
         the cost of mental health treatment if the United States Probation Office determines you have the financial ability to do so or has
         appropriate insurance coverage to pay for such treatment.


4.       You shall furnish all financial records, including, without limitation, earnings records and tax returns, to the United States
         Probation Office upon request.


5.       You shall not incur new debt or open additional lines of credit without prior approval of the United States Probation Office until
         all monetary sanctions are paid.

6.       You must not communicate, or otherwise interact, with Gregory Richardson, either directly or through someone else, without
         first obtaining the permission of the probation officer.




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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                     Judgment — Page   6         of       7
 DEFENDANT:                       PHILLIP PICKETT
 CASE NUMBER:                     3:19-cr-113
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                   Assessment                Restitution                  Fine                  AVAA Assessment*               JVTA Assessment**
 TOTALS          $ 200                     $ 300                      $                     $                              $


      The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
     paid before the United States is paid.

 Name of Payee                              Total Loss***                        Restitution Ordered                   Priority or Percentage
 Gregory Richardson                                            $300                                 $300
 (address provided to
 Clerk’s office)




 TOTALS                              $                          300          $                        300

      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
            the interest requirement is waived for               fin         restitution.
            the                                                  e
            the interest requirement for           fine             restitution is modified as follows:
            the
 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.

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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 — Schedule of Payments
                                                                                                             Judgment — Page        7      of           7
 DEFENDANT:                PHILLIP PICKETT
 CASE NUMBER:              3:19-cr-113


                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    X    Lump sum payment of $ 500                           due immediately, balance due (special assessment and restitution)

                not later than                                      , or
                in accordance with           C          D,           E, or          F below; or

 B         Payment to begin immediately (may be combined with                  C,           D, or         F below); or

 C         Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                        Joint and Several                 Corresponding Payee,
      (including defendant number)                           Total Amount                          Amount                           if appropriate




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

 X    The defendant abandons the defendant’s interest in the following property to the United States:
      The gun recovered at the time of defendant’s arrest: a Ruger LC9 9mm pistol.


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.
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